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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 MAYOR AND CITY COUNCIL OF
 BALTIMORE, et al.,

 Plaintiffs,
                                                  Case No. 25-cv-458-ABA
 v.

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,

 Defendants.




                      [PROPOSED] ORDER GRANTING
               MOTION FOR TEMPORARY RESTRAINING ORDER

         Upon consideration of Plaintiffs’ motion for a temporary restraining order, it is

hereby

         ORDERED that the motion is GRANTED; it is further

         ORDERED that Defendants and all of their officers, employees, and agents are

ENJOINED from taking any steps to defund the Consumer Financial Protection Bureau,

including by transferring the Bureau’s reserve funds or otherwise using them for a purpose

other than the operation of the Bureau; it is further

         ORDERED that Defendants shall file a notice with the Court on or before [DATE]

confirming their compliance with this Order; it is further

         ORDERED that this Order shall apply to the maximum extent provided for by

Federal Rule of Civil Procedure 65(d)(2) and 5 U.S.C. §§ 705 and 706.

         SO ORDERED.
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Dated: February ____, 2025          ___________________________________
                                    THE HON. ADAM B. ABELSON
                                    UNITED STATES DISTRICT JUDGE




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